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                                 Final Dec. & Disch.: Notice Recipients Pg 1 of 2
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Case: 08−22511−rdd                          Form ID: 155                         Total: 77


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4526462     IndyMac Bank, F.S.B.
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db          Shlome Braun          65 reagan Road         Monsey, NY 10977
jdb         Rachel Braun         65 reagan Road         Monsey, NY 10977
ust         United States Trustee        33 Whitehall Street       21st Floor       New York, NY 10004
cr          Chase Home Finance, LLC            C/O Rosicki Rosicki &Associates, P.C.        51 East Bethpage
            Road        Plainview, NY 11803
cr          Hardy Credit Co.         c/o Berkman Henoch Peterson &Peddy, PC            100 Garden City Plaza      Garden City,
            NY 11530
cr          America's Servicing Company           c/o McCalla, Raymer, et al.       Bankruptcy Department        1544 Old
            Alabama Road          Roswell, GA 30076
cr          Builder's Capital, LLC        90 Crystal Run Road         Middletown, NY 10940
cr          America's Wholesale Lender c/o Countrywide Home Loans, Inc.             7105 Corporate
            Drive       PTX−B−209            Plano, TX 75024
tee         Roundup Funding, LLC           MS 550          PO Box 91121         Seattle, WA 98111−9221
cr          Countrywide Home Loans, Inc. f/ka Countrywide Funding Corp. d/b/a America's Wholesale Lender             7105
            Corporate Drive         PTX−B−209           Plano, TX 75024
smg         N.Y. State Unemployment Insurance Fund            P.O. Box 551        Albany, NY 12201−551
smg         New York State Tax Commission             Bankruptcy/Special Procedures Section        P.O. Box 5300       Albany,
            NY 12205−0300
4583978     AmeriCredit Financial Services, INC.          as Assignee from Long Beach         Acceptance Corp.      PO Box
            183853        Arlington, TX 76096
4557378     America's Servicing Company           Bankruptcy Department          7495 New Horizon Way, Building
            4       Frederick, MD 21703
4547353     America's Servicing Company           c/o McCalla Raymer, LLC.          Bankruptcy Department        1544 Old
            Alabama Road          Roswell, Georgia 30076
4615749     America's Wholesale Lender c/o Countrywide Home Lo              7105 Corporate Drive, PTX−B−209         Plano, TX
            75024
4556936     American Express Bank FSB            c/o Becket and Lee LLP        POB 3001          Malvern PA 19355−0701
4539185     American Express Centurion Bank            c/o Becket and Lee LLP         POB 3001        Malvern PA
            19355−0701
4526557     American Express Travel Related Svcs Co           Inc Corp Card        c/o Becket and Lee LLP       POB
            3001        Malvern PA 19355−0701
4543308     Berkan, Henoch, Peterson &Peddy            100 Garden City Plaza        Garden City, NY 11530
4542499     Berkman Henoch Peterson &Peddy, PC              As Attorneys for Hardy Credit Co.       100 Garden City
            Plaza       Garden City, NY 11530
4635739     Berkman Henoch Peterson &Peddy, PC              As Attorneys for Hardy Credit Co.       100 Garden City
            Plaza       Garden City, NY 11530
4588805     Berkman, Henoch, Peterson &Peddy, P.C.            100 Garden City Plaza        Garden City, NY 11530
4637349     Builder's Capital, LLC        40 Golf Links Road         Middletown, New York 10940
4545004     CHASE BANK USA               C O WEINSTEIN AND RILEY, PS                2001 WESTERN AVENUE, STE
            400        SEATTLE, WA 98121
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5225397    Cedarcrest Fund LP        PO Box 830669           Arsenal Station       San Antonio, TX 78283
4546701    Chase Bank USA, NA           PO BOX 15145           Wilmington, DE 19850−5145
4682898    Chase Home Finance, LLC          3415 Vision Drive, DeptOH4−7162            Columbus, OH 43219
4532446    Chase Home Finance, LLC          C/O Rosicki Rosicki &Associates, P.C.          51 East Bethpage
           Road        Plainview, NY 11803
4532447    Chase Home Finance, LLC          C/O Rosicki Rosicki &Associates, P.C.          51 East Bethpage
           Road        Plainview, NY 11803
4575636    DelBello Donnellan Weingarten         Wise &Wiederkehr, LLP            One North Lexington Avenue       White
           Plains, NY 10601
4532444    Discover Bank/DFS Services LLC           PO Box 3025          New Albany, OH 43054−3025
4622013    Eschen, Frenkel &Weisman, LLP           20 West Main St.         Bay Shore, NY 11706
4630406    Eschen, Frenkel &Weisman, LLP           Attorney for: Peter Corey        20 West Main St.      Bay Shore, NY
           11706
4615643    FIA Card Services, N.A.        Attn: Mr. M−BK          1000 Samoset Drive         DE5−023−03−03         Newark,
           DE 19713
4556448    HSBC Bank USA, N.A.           PO Box 2103          Buffalo, NY 14240
4531114    HSBC Mortgage Corp. (USA)            Attn: Bankruptcy Dept.        2929 Walden Ave.         Depew, NY 14043
4590018    HSBC Mortgage Corporation (USA)            2929 Walden Avenue           Attn: Bankruptcy Department       Depew,
           NY 14043
4667634    HSBC Mortgage Corporation (USA)            2929 Walden Avenue           Depew, NY 14043
4539057    INTERNAL REVENUE SERVICE                  290 BROADWAY              NEW YORK, N.Y. 10007
4562936    JP Morgan Chase Bank, N.A.          National Payment Services         POB 24785         Columbus, OH 43224
4692794    Keybank National Association         POB 94968         Cleveland, OH 44101
4631299    Meziman Corp.         Isaac Tenenbaum          POB 258         Monsey, NY 10952−0258
4544220    NYS DEPT OF TAX AND FINANCE                   BANKRUPTCY SECTION                PO BOX 5300         ALBANY NY
           12205
4765735    Old Republic Equity Credit Services,Inc.        307 N. Michigan Ave., 15th Fl.       Chicago,IL 60601
4735976    ROUNDUP FUNDING, L.L.C.               MS 550         PO Box 91121          SEATTLE, WA 98111−9221
4735977    ROUNDUP FUNDING, L.L.C.               MS 550         PO Box 91121          SEATTLE, WA 98111−9221
4735978    ROUNDUP FUNDING, L.L.C.               MS 550         PO Box 91121          SEATTLE, WA 98111−9221
4533648    Rosicki, Rosicki &Associates, P.C.        51 East Bethpage Rd.        Plainview, NY 11803
4531344    Steven J. Baum, P.C.        220 Northpinte Pkwy., Ste. G        Amherst, NY 14228
4910556    TAConcrete Inc.        c/o Mr. Andrew Vlietstra        P.O. Box 383         Unionville, New York 10988
4609410    Toyota Motor Credit Corporation         c/o Becket and Lee LLP         POB 3001         Malvern PA
           19355−0701
4726375    Verizon        c/o AFNI/Verizon East         POB 3037         Bloomington, IL 61702
4598014    WACHOVIA BANK, N.A.               PO BOX 13765           ROANOKE, VA 24037
4525999    WELLS FARGO BANK               BDD−BANKRUPTCY DEPARTMENT                       P.O. BOX 53476        PHOENIX, AZ
           85072
4614335    Wachovia Bank, National Assoc.         Bankruptcy Dept. VA 7359           POB 13765         Roanoke, VA
           24037
                                                                                                               TOTAL: 56
